     Case 2:12-cr-00048-MHT-TFM Document 192 Filed 01/22/13 Page 1 of 16




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF ALABAMA
                               NORTHERN DIVISION

UNITED STATES OF AMERICA                     )
                                             )
       v.                                    )       CASE NO. 2:12-CR-48-MHT
                                             )
MICHAEL SMITH                                )

     REPORT AND RECOMMENDATION OF THE MAGISTRATE JUDGE

                                     I.    INTRODUCTION

       Pursuant to 28 U.S.C. § 636(b)(1) this case was referred to the undersigned United

States Magistrate Judge for review and submission of a report with recommended findings

of fact and conclusions of law. The defendants, Michael Smith (“Smith”), Matthew

Davidson (“Davidson”), and Joseph Sanders (“Sanders”) (collectively “Defendants”) were

charged with four counts of deprivation of civil rights in an indictment returned on March

8, 2012. The indictment alleges one count of obstruction of justice by an attempt to

persuade, one count of conspiracy to obstruct justice, four counts of obstruction of justice by

falsification of documents, four counts of obstruction of justice by misleading conduct, and

three counts of false statements (Doc. 3).1 Pending before this Court is Smith’s Motion to

Dismiss Due to Failure to Preserve Evidence (Doc. 112, filed October 29, 2012).

       On December 4-5, 2012, the Court heard arguments and took evidence on the motion.

(Doc 150). From the evidence presented to the Court, arguments of the parties, and for the

       1
        The charges are listed cumulatively, not all of the defendants are charged under all of
the counts listed.

                                          Page 1 of 16
     Case 2:12-cr-00048-MHT-TFM Document 192 Filed 01/22/13 Page 2 of 16




reasons herein the Magistrate Judge recommends that the motion to dismiss be DENIED.

                                        II.   FACTS

       On the night of August 4, 2010, an altercation began in the D-Dorm between Officer

Brown and RM during a lock down. Officer Brown called for assistance. Once other

officers came to the scene, RM continued to struggle until he broke free and ran in the

direction of the F-Dorm. RM subsequently stopped resisting, was put in handcuffs, and taken

to the lieutenant’s office assigned to Smith. At the time, Smith was a Lieutenant at Ventress

Correctional Facility (“VCF”), and the senior officer on duty the night of the incident. In the

lieutenant’s office, RM was still in handcuffs when he was assaulted again by Smith and

another officer. RM was then taken to the VCF emergency room in the Health Care Unit

(“ER”), where he rolled off the hospital bed several times. After the second or third time RM

rolled off the bed, the nurses were sent out and Smith and at least one other officer allegedly

stomped on RM’s head while he was on the floor. The nurses were allowed back into the

room after the assault, at which point they assessed RM and due to the severity of the injuries

called for an ambulance to transport RM to a hospital. RM subsequently died as the result

of blunt force trauma sustained during the altercation.

       After RM was taken to the hospital and the activity from the incident had subsided,

as senior officer, Smith was responsible for preserving the scenes until his superiors came.

Instead, the VCF emergency room was thoroughly cleaned by the nurses, the officers’

uniforms including the boots used in stomping RM’s head were not gathered, pictures were


                                         Page 2 of 16
      Case 2:12-cr-00048-MHT-TFM Document 192 Filed 01/22/13 Page 3 of 16




not taken of the guards or the scenes where each assault took place, a broken baton used on

RM was taken to the shift office and never seen again, none of the night sticks or batons were

collected, and it is alleged the handcuffs worn by RM that night are not the same pair now

in the evidence room.

                                     III.   DISCUSSION

       Smith alleges several key pieces of evidence were not properly preserved, and that

without this evidence he is prevented from “obtaining a fundamentally fair trial, comporting

with Due Process.” See Doc. 112 at 3. Smith avers that the failure to preserve evidence was

done in bad faith, and accordingly he is due proper relief, dismissal of the case at bar. The

evidence Smith cites:

       the government failed to preserve the scenes of the various altercations, failed to
       preserve the physical items involved in the altercations, and failed to seize and
       preserve critical evidence. No photographs were taken of the locations of the
       altercations, showing the condition or circumstances of those locations immediately
       after the altercations. No effort was made to preserve the handcuffs, night sticks, and
       batons involved in the altercations. No photographs were taken of any participants
       in the altercation, other than RM. No effort was made to obtain the shoes, pants, or
       shirts of the officers involved in the altercations.

See Doc. 112 at 2. Smith claims that “[a]ll of these items and evidence are material to the

determination of the individual blows or individual persons responsible for the fatal blows.”

Id.

       The Government concedes that none of the items listed by Smith were collected as

evidence. However, the Government contends that Smith has failed to meet his burden to

prove the constitutional violation.     The Government asserts that Smith’s motion is

                                        Page 3 of 16
     Case 2:12-cr-00048-MHT-TFM Document 192 Filed 01/22/13 Page 4 of 16




“inaccurate and fails to acknowledge his role in the alleged failure to preserve evidence,” and

that Smith did not meet his burden of proving that the evidence was “apparently exculpatory”

or that the Government acted in bad faith. Id. The Government cites to a line of binding

case law which stands for the notion that a defendant must prove either that the destroyed

evidence was “apparently exculpatory,” meaning that it must be apparent that the evidence

is exculpatory before it is destroyed, or a defendant can prove that the evidence is

“potentially useful” and the Government acted in bad faith. See Doc. 134 at 2-5; see also

Illinois v. Fisher, 540 U.S. 544, 549, 124 S. Ct. 1200, 1203, 157 L. Ed. 2d 1060 (2004);

Arizona v. Youngblood, 488 U.S. 51, 55, 109 S. Ct. 333, 336, 102 L. Ed. 2d 281 (1988);

California v. Trombetta, 467 U.S. 479, 485, 104 S. Ct. 2528, 2532, 81 L. Ed. 2d 413 (1984);

Olszewski v. Spencer, 466 F.3d 47 (1st Cir. 2006) (cited by United States v. McMurphy, 1:08-

CR-175-TFM, 2009 WL 4042901 (M.D. Ala. Nov. 19, 2009); and United States v. Hinton,

2:07CR14-SRW, 2007 WL 2670038 (M.D. Ala. Sept. 10, 2007)).

A.     “Apparently Exculpatory”

       First, Smith does not even allege that the destroyed evidence is “apparently

exculpatory.” Smith argues that had the items been preserved “an expert in forensic serology

and blood stain pattern interpretation could have examined these items and reconstructed

who came into contact with RM and the amount and type of force used during these

contacts.” See Doc. 112 at 2. Additionally, Smith argues had photographs been taken of

each location where altercations occurred, they “would have contributed materially to


                                         Page 4 of 16
     Case 2:12-cr-00048-MHT-TFM Document 192 Filed 01/22/13 Page 5 of 16




establishing what happened in each location,” and he continues by stating that the

“potentially exculpatory nature of this evidence was apparent at the time law enforcement

were notified of the altercation on August 4, 2010.” Id. (emphasis added). The law is clear

when it comes to lost or destroyed evidence; “[t]o meet this standard of constitutional

materiality, evidence must both possess an exculpatory value that was apparent before the

evidence was destroyed, and be of such a nature that the defendant would be unable to obtain

comparable evidence by other reasonably available means.” Trombetta, 467 U.S. at 489

(citing United States v. Agurs, 427 U.S. 97, 109-110, 96 S. Ct. 2392, 2400 (1976)).

       Smith made no assertion nor presented any evidence that any piece of destroyed

evidence had exculpatory value apparent on its face, or that the Government acted in bad

faith in destroying evidence, or that any evidence had exculpatory value at all. Instead, Smith

asserts that testing and recreation could assist in telling the story of how everything occurred

that night. During the hearing, counsel for Smith again only claimed that “I think what they

could have done is reconstruct specifically what happened in specifically three areas that we

think are important,” but not once did they allege what piece of lost or destroyed evidence

exculpates Smith. See Doc. 166 at 36. The Magistrate Judge agrees with the assertion that

proper preservation of the crime scenes and the evidence is important and testing may have

helped paint a clearer picture of the events that unfolded that night; however, its importance

and what the evidence “may,” “might,” or “could” have shown is not relevant to whether

evidence is “apparently exculpatory.” The Magistrate Judge finds that none of the evidence


                                         Page 5 of 16
     Case 2:12-cr-00048-MHT-TFM Document 192 Filed 01/22/13 Page 6 of 16




meets the standard of constitutional materiality.

B.     “Potentially Useful” and “Bad Faith”

       Next, Smith could still meet his burden by proving that the evidence is “potentially

useful,” coupled with a showing of bad faith on the part of the Government. Although the

Government does not readily concede this point, the Magistrate Judge does find that each

piece of evidence listed by Smith is “potentially useful” in his defense. Undoubtedly,

photographs of each crime scene, the officer’s uniforms, and batons used could help the

defense paint different scenarios of how things may have occurred, and perhaps raise

reasonable doubt. However, to meet the standard of constitutional materiality, Smith must

also prove that the Government acted in bad faith. Smith does not present any evidence of

bad faith in his filing, but rather simply makes a blanket assertion, so the Magistrate Judge

has only the testimony presented on the matter during the hearings held to find bad faith. See

Docs. 165-66.

       1.     Nurses Dianne Teal and Coy Flenory

       To show bad faith, Smith first called Licensed Nurse Dianne Teal (“Nurse Teal”) and

Registered Nurse Coy Flenory (“Nurse Flenory”) to testify. See Doc 165 at 164, 206. Nurses

Teal and Flenory are contract employees who work at VCF. Both nurses testified that it is

standard protocol to clean the ER after an inmate is seen at the location. Nurses Teal and

Flenory cited safety concerns of allowing blood, supplies used such as hypodermic needles,

gauzes, etc. being left out when subsequent inmates visit the facility as reasons they are


                                        Page 6 of 16
     Case 2:12-cr-00048-MHT-TFM Document 192 Filed 01/22/13 Page 7 of 16




required to keep the ER clean. This testimony of Nurses Teal and Flenory was echoed by

Mr. Yarborough from the ADOC. Both nurses also said that the ADOC has never trained

them in preservation of evidence or crime scenes. More importantly, both nurses also

testified that they were not aware of any crime or that the ER was a crime scene. They did

testify that an inmate being taken away in an ambulance is not a frequent occurrence at VCF;

however, they acted under standard operating protocol when they cleaned the ER once RM

was taken to the hospital in the ambulance.

       Although the Magistrate Judge notes the ADOC’s lack of training on the preservation

of evidence for its hospital staff is likely not good policy, nothing in either nurses’ testimony

indicates any bad faith. An argument may be made that the ADOC is acting negligent in not

providing such training, but the nurses simply acted as they have acted after the admission

of any other inmate into the ER. Smith does not cite to any orders being given by any senior

officer, internal affairs, or Government investigators telling the nurses to clean up the ER.

In fact, Smith was the senior officer until the warden came to the scene, and it would have

been within the scope of his duties to direct the nurses not to clean up the ER and to prevent

anyone from going in or out of that area. It is obvious that there is no evidence of bad faith

involved in the cleaning of the ER, and Smith’s own inaction contributed to the loss of

evidence which might have been in the ER.

       2.     Warden Jesse Giles

       Next, Smith called Warden Jesse Giles (“Warden Giles”) to testify at the hearing to


                                         Page 7 of 16
     Case 2:12-cr-00048-MHT-TFM Document 192 Filed 01/22/13 Page 8 of 16




demonstrate bad faith by Warden Giles because he said he did not want to know what

happened in an effort to prevent his name coming up in any sort of cover up if there ended

up being criminal implications. See Doc. 165 at 226. During his testimony, Warden Giles

said he received a phone call at home from Captain Specks about an altercation with an

inmate and that the injuries were serious. Warden Giles then drove approximately thirty-five

miles to VCF, and upon arrival he spoke with Smith about the incident. Warden Giles said

he did not interview any other witnesses because he knew Internal Affairs (“IA”) would soon

arrive. Although Warden Giles was the senior officer upon his arrival at VCF, he stated that

after having knowledge that IA was in route, he made the decision not to get involved in the

investigation because he did not want any suspicion about impropriety or suggestions that

he interfered to protect his employees. The main reason that the thoughts of impropriety

came up was because Warden Giles believed the injuries to RM were far more severe than

the routine matter Smith said it was. Warden Giles said had IA not been in route, he would

have conducted the full investigation himself. Warden Giles did direct Captain Cedric

Specks (“Captain Specks”) to take some photographs before IA came, and he received RM’s

handcuffs at which point he created and signed the documents of receipt.

       The most telling part of Warden Giles’ testimony is his statements referencing Smith’s

responsibilities for preserving evidence and the crime scenes. Warden Giles said when he

got to VCF the incident did not raise criminal suspicion, nor was Smith personally suspected

of any wrong doing initially, the fact remains that Smith had been trained and was, by virtue


                                        Page 8 of 16
     Case 2:12-cr-00048-MHT-TFM Document 192 Filed 01/22/13 Page 9 of 16




of position responsible for securing any crime scenes. Warden Giles confirmed that Smith

was the senior officer and that ADOC policy says that the warden or senior officer is in

charge of securing the scene. Since Warden Giles was not on duty that night, Smith was

responsible for directing photographs to be taken, assisting IA, deploying officers to secure

each of the scenes, and preserving all evidence for inspection by IA until he was relieved as

the senior officer. In short, Smith accuses the Government of not preserving evidence that

he was under a duty to preserve.

       Smith took some steps to preserve evidence, which indicates that he knew he was

under a duty to do so. See 165 at 264. Smith directed Officer Brooks to retrieve a camera,

directed the nurses to do at least one body chart, and took possession of a broken fiberglass

baton that has since gone missing. The most egregious part of his accusation is that Smith

lists his own uniform, boots, and baton as items that the Government failed to preserve.

Although under a different set of operating facts, this Court in McMurphy noted that

“McMurphy had the opportunity to preserve the evidence if she so chose. [. . .] Therefore,

McMurphy cannot put the blame entirely on the government.” McMurphy, 2009 WL

4042901, at *3 n. 2. Even moreso, Smith had a duty to preserve the crime scenes and did not

fully discharge his duties. The Magistrate Judge credits Warden Giles’ testimony that he

wanted the IA to conduct the investigation unimpeded, therefore the Magistrate Judge does

not find any bad faith with regard to Warden Giles and his performance of duties that night.

       3.     Captain Cedric Specks


                                        Page 9 of 16
    Case 2:12-cr-00048-MHT-TFM Document 192 Filed 01/22/13 Page 10 of 16




       Smith also called Officer Specks to testify. See Doc. 165 at 239. Captain Specks

came to the scene after Warden Giles, so Captain Specks was not the senior officer at

anytime that night. Warden Giles ordered Captain Specks to take pictures, at which time

Captain Specks said he retrieved a camera and began taking photographs of officers and RM

based on the procedure he already knew to follow. Captain Specks testified that once he got

a few more details about the incident, and upon IA’s arrival, he chose to stop taking photos

and escorted IA around to assist them with their investigation. IA continued to take pictures

so Captain Specks did not finish taking all of the pictures he otherwise would have under

standard procedure. Captain Specks testified that the reason he only took pictures of Officer

Brown is because she was the one who was assaulted, and the other officers were not

suspects of any wrongdoing at the time.

       The only evidence presented with regards to Captain Specks’ role in the failure to

preserve evidence is that he did not conduct a full investigation. First, Captain Specks was

not, at any point, the senior officer on duty that night. Second, upon arrival Captain Specks

followed the orders given by Warden Giles and began taking pictures. Captain Specks

stopped taking pictures when IA came, at which time he immediately assisted the IA

investigators in conducting their investigation. The evidence shows Captain Specks was only

under a duty to follow the orders he was given the night of the incident and had no duty to

secure scenes or preserve evidence other than take photographs. Likewise, Captain Specks’

assistance given to the IA investigators during their investigation only shows his willingness


                                        Page 10 of 16
    Case 2:12-cr-00048-MHT-TFM Document 192 Filed 01/22/13 Page 11 of 16




to assist the IA in gathering the facts and evidence required to make a determination of what

happened the night of August 4, 2010. The Magistrate Judge finds that Smith failed to make

any showing of bad faith with respect to Captain Specks.

       4.     Retired Captain Mary Taylor

       Smith called retired VCF Captain Mary Taylor (“Captain Taylor”) to testify. Captain

Taylor said that she was not on duty the night of the incident, and did not arrive at VCF until

early the next morning. See Doc. 165 at 252. Upon Captain Taylor’s arrival, Warden Giles

told her to fill out the top of the evidence forms for several pieces of evidence. Captain

Taylor said it is customary that she have the evidence in her possession while completing

evidence reports; however, Warden Giles told her that the evidence had already been turned

over to investigating authorities. Captain Taylor said she filled out forms for a collapsible

baton, a bath cloth, and a lock of hair. Captain Taylor filled out the information according

to Ms. Flenory’s description, then gave two of the three copies to Ms. Flenory and the other

copy to Warden Giles. The only argument Smith attempts to make with respect to Captain

Taylor’s role with the evidence is that traditionally she would have the pieces of evidence at

the time she filled out the reports. However, due to her indication that the evidence had

already been turned over to investigating authorities, and the fact that Smith was able to

review said evidence at the Federal Bureau of Investigation’s (“FBI”) office, there is no

actual dispute here as to bad faith. The evidence discussed by Captain Taylor was in fact

preserved and Smith had the opportunity to review the evidence.


                                        Page 11 of 16
    Case 2:12-cr-00048-MHT-TFM Document 192 Filed 01/22/13 Page 12 of 16




       5.     FBI Special Agent Susan Hanson

       Finally, Smith called FBI Special Agent Susan Hanson (“Agent Hanson”) to testify.

See Doc. 166 at 3. Smith’s questioning of Agent Hanson was primarily related to the

responsibilities of some of the witnesses that previously testified, as opposed to any

allegations of wrongdoing on the part of Agent Hanson with respect to evidence preservation.

Much of Agent Hanson’ testimony directly addresses Smith’s possible role in the failures that

occurred in preserving the crime scenes and evidence. Agent Hanson interviewed Warden

Giles based upon her concern that Smith was the officer in charge of the facility, yet he did

not preserve the crime scenes. See Doc. 166 at 8. Agent Hanson even asserted her suspicion

that Smith tampered with the crime scenes and/or destroyed evidence, and that Warden Giles

had, at the time, completely failed to hold him accountable for it. Id.

       Although, Agent Hanson agreed that upon Warden Giles’ arrival he was then in

charge and he failed to take any action, Agent Hanson stated that the crime scenes and

evidence “should have been secured prior to the point that Captain Specks and Warden Giles

arrived on the scene.” Id. Agent Hanson noted that Captain Specks and Warden Giles were

not there when the altercations took place, and there was no way for them to have known

where and which scenes that needed to be preserved. See Doc. 166 at 8-9. Smith asserts that

upon arriving, Warden Giles asked Smith what had happened and at that point should have

known. As Smith mentioned, Warden Giles did not believe Smith’s version of events, and

was quoted as calling Smith’s explanation “bull----.” See Doc. 166 at 30. This only serves


                                       Page 12 of 16
    Case 2:12-cr-00048-MHT-TFM Document 192 Filed 01/22/13 Page 13 of 16




to reinforce the idea that Warden Giles did not have an accurate understanding of the events

that transpired that night but was confident the IA investigation would be thorough. Warden

Giles also told Agent Hanson that he was under the belief that Smith and others were already

in the process of preserving whatever scenes needed to be preserved. See Doc. 166 at 9.

       Agent Hanson also discussed crime scene procedures with Mr. Yarborough from

ADOC due to her concern about the lack of crime scene preservation and the possibility of

evidence tampering and destruction by Smith. See Doc. 166 at 12. Agent Hanson was also

concerned because the potential evidence tampering and destruction was not reported by

anyone within IA. Agent Hanson noted that Mr. Yarborough seemed fairly dismissive in the

sense that he called the term “coverup” too harsh, he did not hold anyone accountable, and

he did not consider the possibility that there could be an additional crime by destroying,

covering up, or tainting the crime scenes. See Doc. 166 at 13-14. Yarborough explained that

law enforcement inside a prison context is not the same as law enforcement in the traditional

sense, in that they have to consider the potential for bio hazards as a result of blood and other

bodily fluids coming into contact with other prisoners or staff. Although VCF was on lock

down at the time, the crime scene extended throughout a large portion of the VCF, all of

which practically could not remain under lock down for a long period of time.

       When questioned about how she came to the conclusion that Smith may have covered

up or destroyed evidence, Agent Hanson cited to several questionable discoveries that she

made. First, Agent Hanson noted that the FBI was looking for a fiberglass baton that


                                         Page 13 of 16
      Case 2:12-cr-00048-MHT-TFM Document 192 Filed 01/22/13 Page 14 of 16




witnesses said was used in the altercation which took place in Smith’s office. See Doc. 166

at 24. Agent Hanson testified that a witness reported RM was struck over the head with the

baton and it broke into two pieces and was placed in Smith’s office. See Doc. 166 at 25.

Agent Hanson also indicated that from her review of the pictures taken of Smith’s office, it

appeared to have been cleaned up to reflect Smith’s version of the incident. Id. Agent

Hanson noted that all which was apparent in Smith’s office was residue from pepper spray;

however, witness testimony about the altercation would indicate that there would have been

other evidence present as well. See Doc. 166 at 32. Agent Hanson stated that all that

remained was the pool of pepper spray on the floor, but otherwise the office looked sterile.

Id.

        Additionally, Agent Hanson pointed to the fact that Smith was at each scene early

enough to begin ordering the preservation of each. See Doc. 166 at 25. Smith is said to have

arrived at the D-Dorm site simultaneous to RM running toward F-Dorm while being pursued

by other officers. Id. Agent Hanson believes at this point Smith should have ordered all

scenes in and around D-Dorm to be preserved. Id. Next, Smith was inside the lieutenant’s

office while that alleged altercation took place, and once RM was removed from the office,

Smith should have started preserving the crime scene there. Id. Finally, Smith was also

inside of the ER while RM was being checked and when the third alleged altercation took

place, and once RM was taken away in an ambulance should have began to preserve the

crime scene there. Id. Agent Hanson testified that Smith was present at each of the crime


                                       Page 14 of 16
    Case 2:12-cr-00048-MHT-TFM Document 192 Filed 01/22/13 Page 15 of 16




scenes before any other senior officer and was not only in the best position to preserve the

scenes, but was under duty to do so. Id.

       It is obvious from the content of Agent Hanson’s testimony that she is not implicated

in any showing of bad faith. The only assertions of bad faith mentioned by Smith is that

Warden Giles’ indifference was done in bad faith, and the fact that the ADOC has admitted

other instances when crimes scenes were not properly preserved is a showing of systemic bad

faith. See Doc 166 at 37-38. Smith has not made any showing of a “calculated effort to

circumvent the disclosure requirements established by Brady v. Maryland and its progeny”

and he has not made any “allegation of official animus towards [Smith] or of a conscious

effort to suppress exculpatory evidence.” Trombetta, 467 U.S. 479 at 488. Although the

evidence does not demonstrate exemplary crime scene management, nothing in the record

rises to the level of bad faith. This is especially magnified when one views Smith’s extensive

role in the failures that occurred in preserving the crime scenes and evidence at VCF, even

up to allegations of tampering and destruction of evidence.

                                    IV.     CONCLUSION

       Accordingly, it is the RECOMMENDATION of the Magistrate Judge that Smith’s

Motion to Dismiss Due to Failure to Preserve Evidence (Doc. 112) be DENIED

       It is further ORDERED that the parties file any objections to the this Recommendation

on or before February 5, 2013. Any objections filed must specifically identify the findings

in the Magistrate Judge’s Recommendation to which the party is objecting. Frivolous,


                                          Page 15 of 16
    Case 2:12-cr-00048-MHT-TFM Document 192 Filed 01/22/13 Page 16 of 16




conclusive or general objections will not be considered by the District Court. The parties are

advised that this Recommendation is not a final order of the court and, therefore, it is not

appealable.

       Failure to file written objections to the proposed findings and recommendations in the

Magistrate Judge's report shall bar the party from a de novo determination by the District

Court of issues covered in the report and shall bar the party from attacking on appeal factual

findings in the report accepted or adopted by the District Court except upon grounds of plain

error or manifest injustice. Nettles v. Wainwright, 677 F.2d 404 (5th Cir. 1982); see Stein v.

Reynolds Securities, Inc., 667 F.2d 33 (11th Cir. 1982); see also Bonner v. City of Prichard,

661 F.2d 1206 (11th Cir. 1981, en banc) (adopting as binding precedent all of the decisions

of the former Fifth Circuit handed down prior to the close of business on September 30, 1981).

       DONE this 22nd day of January, 2013.

                                           /s/ Terry F. Moorer
                                           TERRY F. MOORER
                                           UNITED STATES MAGISTRATE JUDGE




                                        Page 16 of 16
